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                    Exhibit E
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        Payments
         1. Developers charging for app downloads from Google Play must use Google Play's billing system as
            the method of payment for those transactions.
         2. Play-distributed apps requiring or accepting payment for access to in-app features or services,
            including any app functionality, digital content or goods (collectively “in-app purchases”), must use
            Google Play’s billing system for those transactions unless Section 3 or Section 8 applies.


                   Examples of app features or services requiring use of Google Play's billing system include, but
                   are not limited to, in-app purchases of:

                   • Items (such as virtual currencies, extra lives, additional playtime, add-on items, characters and
                     avatars);
                   • subscription services (such as fitness, game, dating, education, music, video, service upgrades
                     and other content subscription services);
                   • app functionality or content (such as an ad-free version of an app or new features not
                     available in the free version); and
                   • cloud software and services (such as data storage services, business productivity software,
                     and financial management software).



         3. Google Play's billing system must not be used in cases where:
             a. payment is primarily:
                   • for the purchase or rental of physical goods (such as groceries, clothing, housewares,
                     electronics);
                   • for the purchase of physical services (such as transportation services, cleaning services,
                     airfare, gym memberships, food delivery, tickets for live events); or
                   • a remittance in respect of a credit card bill or utility bill (such as cable and telecommunications
                     services);

             b. payments include peer-to-peer payments, online auctions, and tax exempt donations;
             c. payment is for content or services that facilitate online gambling, as described in the Gambling
                Apps section of the Real-Money Gambling, Games, and Contests policy;
             d. payment is in respect of any product category deemed unacceptable under Google’s Payments
                Center Content Policies.

                      Note: In some markets, we offer Google Pay for apps selling physical goods and/or services.
                      For more information, please visit our Google Pay developer page.


         4. Other than the conditions described in Section 3 and Section 8, apps may not lead users to a
            payment method other than Google Play's billing system. This prohibition includes, but is not limited
            to, leading users to other payment methods via:
            • An app’s listing in Google Play;
            • In-app promotions related to purchasable content;
https://support.google.com/googleplay/android-developer/answer/9858738?visit_id=637865915491541784-284493530&rd=1          1/2
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            • In-app webviews, buttons, links, messaging, advertisements or other calls to action; and
            • In-app user interface flows, including account creation or sign-up flows, that lead users from an
               app to a payment method other than Google Play's billing system as part of those flows.

         5. In-app virtual currencies must only be used within the app or game title for which they were
            purchased.

         6. Developers must clearly and accurately inform users about the terms and pricing of their app or any
            in-app features or subscriptions offered for purchase. In-app pricing must match the pricing
            displayed in the user-facing Play billing interface. If your product description on Google Play refers
            to in-app features that may require a specific or additional charge, your app listing must clearly
            notify users that payment is required to access those features.

         7. Apps and games offering mechanisms to receive randomized virtual items from a purchase
            including, but not limited to, “loot boxes” must clearly disclose the odds of receiving those items in
            advance of, and in close and timely proximity to, that purchase.

         8. Unless the conditions described in Section 3 apply, developers of Play-distributed apps on mobile
            phones and tablets requiring or accepting payment from users in South Korea for access to in-app
            purchases may offer users an in-app billing system in addition to Google Play's billing system for
            those transactions if they successfully complete the additional in-app billing system declaration
            form and agree to the additional terms and program requirements included therein.

        Note: To view timelines and frequently asked questions regarding this policy, please visit our Help
        Center.




                                                          Need more help?
                                                          Try these next steps:



             Contact us
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